                Case 8:19-bk-03877-MGW              Doc 13      Filed 07/18/19      Page 1 of 2
[Dntcosth] [NOTICE AND ORDER SCHEDULING PRELIMINARY HEARING ON MOTION FOR RELIEF FROM STAY]




                                        ORDERED.
Dated: July 18, 2019




                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION
                                         www.flmb.uscourts.gov



In re:                                                                  Case No.
                                                                        8:19−bk−03877−MGW
                                                                        Chapter 7
Katheline Nunez



________Debtor*________/

                   NOTICE AND ORDER SCHEDULING PRELIMINARY HEARING ON
                             MOTION FOR RELIEF FROM THE STAY

             NOTICE IS GIVEN that a motion pursuant to Fed R. Bank. P. 4001 and 9014 seeking
         relief from the automatic stay imposed by 11 U.S.C. § 362(e) has been filed by Creditor,
         Nationstar Mortgage LLC d/b/a Mr. Cooper (Document No. 7). Pursuant to Fed. R. Bank. P.
         4001, you are receiving this notice of preliminary hearing, which will take place before the
         Court on August 22, 2019 , at 09:30 AM in Courtroom 8A, Sam M. Gibbons United States
         Courthouse, 801 N. Florida Ave., Tampa, FL 33602. Accordingly, it is
            ORDERED:

         1. The Automatic Stay imposed by 11 U.S.C. § 362(e) will remain in effect until further order
         of the Court.

         2. The Bankruptcy Judge may continue the hearing upon announcement made in open court
         without further notice.

         3. Any party opposing the relief sought at this hearing must appear at the hearing or any
         objections or defenses may be deemed waived.



Avoid delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones and, except
in Orlando, computers into the Courthouse absent a specific order of authorization issued beforehand by the
presiding judge, a valid Florida Bar identification card, or pro hac vice order. Please take notice that as an
additional security measure a photo ID is required for entry into the Courthouse.

Keith Labell is directed to serve a copy of this order on interested parties who do not receive service by
CM/ECF and file a Proof of Service within 3 days of entry of the order.
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*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
